                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                at CHATTANOOGA



DERRICK L. WITCHER                       )
                                         )
v.                                       )      No.    1:12-CV-192/1:98-CR-77
                                         )             Judge Mattice
UNITED STATES OF AMERICA                 )



                                    MEMORANDUM

      Federal prisoner Derrick L. Witcher (“Witcher”) filed for post-conviction relief

pursuant to 28 U.S.C. § 2255 on February 8, 2001. See Witcher v. United States, Civil

Action No. 1:01-cv-47, Court Doc. 1. The Court denied relief on February 27, 2001,

finding Witcher’s motion was time-barred by the one year statute of limitations

applicable to § 2255 motions. See Witcher v. United States, Civil Action No. 1:01-cv-47,

Court Docs. 2 & 3. Witcher subsequently filed a motion in the United States Court of

Appeals for the Sixth Circuit pursuant to 28 U.S.C. § 2244, requesting an order

authorizing the district court to consider a second or successive § 2255 motion to

vacate, set aside or correct sentence, which the Sixth Circuit denied on June 2, 2006.

See Witcher v. United States, 1:01-cv-47, Court Doc. 10.        Witcher has now filed a

second § 2255 motion attacking the same conviction (Criminal Court Doc. 1161).1

      In accordance with the “Antiterrorism and Effective Death Penalty Act of 1996,”

effective April 24, 1996, Witcher cannot file a second or successive § 2255 motion in the

District Court until he has moved in the United States Court of Appeals for the Sixth


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      Each document will be identified by the Court File Number assigned to it in the
underlying criminal case.


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Circuit for an order authorizing the District Court to consider the motion. This Court has

not received an order from the Sixth Circuit authorizing it to consider the pending

motion.

      Accordingly, the Clerk will be DIRECTED to TRANSFER this action to the United

States Court of Appeals for the Sixth Circuit, pursuant to 28 U.S.C. § 1631 and close

this case. See Sims v. Terbush, 111 F.3d 45, 47 (6th Cir. 1997).


      SO ORDERED.

      ENTER.



                                      /s/ Harry S. Mattice, Jr.
                                     HARRY S. MATTICE, JR.
                                  UNITED STATES DISTRICT JUDGE




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